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 6   Counsel for Defendant Chavez

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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                            OAKLAND DIVISION

11

12    UNITED STATES OF AMERICA,                               Case No.: CR 4:22-cr-00104-YGR

13                    Plaintiff,                              STIPULATED ORDER MODIFYING
                                                              CONDITIONS OF PRETRIAL
14            v.                                              RELEASE

15    ENRIQUE CHAVEZ,

16                    Defendant.

17

18
           Enrique Chavez was released in this matter by this Court on March 31, 2021. Two conditions
19
     of his release were electronic monitoring, and a curfew. United States v. Enrique Chavez, CR 22-
20
     00104 YGR, Dkt. #13. With the permission of Pretrial, Mr. Chavez maintained a residence in the
21
     Eastern District of California. He has lived in Fresno near his family since his release, has obtained
22
     new employment, and there have been no allegations of any violations of pretrial release.
23
           Mr. Chavez’s next appearance is September 14, 2022 before the Honorable Judge Gonzalez
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     Rogers. It is anticipated that he will enter a guilty plea at that appearance, pursuant to a written plea
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     agreement that is currently being negotiated by the parties.
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     STIPULATED ORDER MOD. COND. PRETRIAL RELEASE
     CHAVEZ, CR 4:22-CR-00104-YGR
                                                          1
               Case 4:22-cr-00104-YGR Document 27 Filed 09/01/22 Page 2 of 3



 1           Because Mr. Chavez has done well on pretrial release, the defense moves the Court to modify
 2     the conditions of pretrial release by removing the condition of electronic monitoring, and the curfew
 3     condition. In particular, removing the curfew condition will allow Mr. Chavez to work late-night
 4     shifts at FedEx, his current employer.
 5           Mr. Chavez’s supervising pretrial officer in the Eastern District has no objection to these
 6     proposed modification. Mr. Chavez’s assigned pretrial services officer in the Northern District of
 7     California also has no objection to this modifications to the conditions of pretrial release.
 8           The government has no objection to these proposed changes.
 9    //
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28    //

     STIPULATED ORDER MOD. COND. PRETRIAL RELEASE CHAVEZ, CR
     4:22-CR-00104-YGR
                                                               2
               Case 4:22-cr-00104-YGR Document 27 Filed 09/01/22 Page 3 of 3



 1         Therefore, for good cause shown Mr. Chavez’s conditions of pretrial release are modified to
 2   remove the electronic monitoring condition, and to remove the condition of curfew. All other
 3   conditions shall remain in effect.
 4

 5                                                             IT IS SO STIPULATED.
      Dated:      August 18, 2022
 6
                                                               STEVEN G. KALAR
 7                                                             Kalar Law Office

 8                                                                      /S
                                                               Counsel for Enrique Chavez
 9

10

11    Dated:     August 18, 2022

12                                                             STEPHANIE HINDS
                                                               United States Attorney
13                                                             Northern District of California

14                                                                       /S
                                                               ANDREW PAULSON
15                                                             Assistant United States Attorney
      IT IS SO
16
     ORDERED.
17
                                                               DONNA M. RYU
18 Dated: 9/1/2022                                             United States Magistrate Judge

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20                                                             NORTHERN DISTRICT OF CALIFORNIA
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     STIPULATED ORDER MOD. COND. PRETRIAL RELEASE CHAVEZ, CR
     4:22-CR-00104-YGR
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